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Attorneys for Plaintiffs

                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF IDAHO

 MH, TB, KB, SG, AC, BM, individually, and
 G Doe, by and through her parents and next
 friends, JANE Doe and JOHN Doe                             CASE NO. 1:22-CV-409-REP

        Plaintiffs,
                                                            DECLARATION OF JOSEPH NEIL
        vs.                                                 RAGAN, MD IN SUPPORT OF
                                                            MOTION FOR A TEMPORARY
 ALEX ADAMS, in his official capacity as the                RESTRAINING ORDER AND A
 Director of the Idaho Department of Health                 PERMANTENT INJUNCTION
 and Welfare; Dr. MAGNI HAMSO, in her
 official capacity as the Medical Director of the
 Idaho Division of Medicaid and individually;
 and the IDAHO DEPARTMENT OF HEALTH
 AND WELFARE,

        Defendants.


       Joseph Neil Ragan, MD declares, based upon my personal knowledge, under penalty of

perjury, as follows:

       1.         I am over the age of 18 and I am a board-certified medical doctor licensed in the

State of Idaho.



DECLARATION OF JOSEPH NEIL RAGAN, MD IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER AND A PERMANTENT INJUNCTION - 1

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          2.   I am a board-certified family physician. I graduated from the University of

Arkansas for Medical Sciences and completed an internship and residency training at Naval

Regional Medical Center in San Diego, California and Naval Hospital Camp Pendleton in

California.

          3.   I practiced family medicine for the US Navy for 26 years. I then returned to

northeast Arkansas where I practiced emergency medicine and hospital inpatient work for a few

years before relocating to Lava Hot Springs, Idaho.

          4.   Since 2013, I have been a staff family physician at the Idaho State University

Family Medicine residency and its outpatient clinic that is operated by Health West Community

Care Center. There, I treat patients and teach medical residents and other learners in the

healthcare professions. I have been providing gender-affirming medical care at this clinic since

2013.

          5.   I have provided medically necessary gender affirming treatments for patients

diagnosed with gender dysphoria.

          6.   Treatment is medically necessary when the treatment meets the guidelines for the

standard of care and when the treatment benefits exceed treatment risks.

          7.   Several organizations publish standards of care for gender affirming medical

treatment for transgender individuals: Endocrine Society, American Psychiatric Association,

American Psychological Association and the World Professional Association for Transgender

Health.

          8.   Many of my patients rely on Medicaid to cover and reimburse their medical

coverage. This includes my patients who receive gender affirming treatment for gender

dysphoria.



DECLARATION OF JOSEPH NEIL RAGAN, MD IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER AND A PERMANTENT INJUNCTION - 2

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       9.      My patients who are Medicaid participants can no longer have Medicaid covering

and reimbursing for gender affirming hormone treatment due to the prohibitions in HB 668.

       10.     As a physician employed by the Health West clinic, I can no longer provide

gender affirming treatment or transgender care at any of its locations because of HB 668.

       11.     Medicaid participants seeking gender affirming care are being involuntarily cut

off from prescriptions and their hormone therapy because of HB 668.

       13.     In evaluating the risks of gender affirming medical treatment, I evaluate the

patient’s detailed medical, psychiatric, surgical, family, and social history. I also complete a full

physical examination and mental health assessment.

       14.     I determine whether gender affirming treatment is medically necessary by

conducting a careful assessment of an individual patient’s situation. I evaluate how they came to

recognize that they do not identify with their gender assigned at birth and if they understand the

negative impact of gender dysphoria on the person’s life. I also consider individual and family

medical history and physical and mental health comorbidities. In particular I consider other

related and non-related conditions that may be impacting the individual’s distress, such as body

dysmorphia and serious mental health diagnoses that have not been adequately evaluated and

treated. I also consider whether alternatives to medical and/or surgical treatment are sufficient to

address the individual’s dysphoria.

       15.     Before I prescribe hormone treatment, the patient must have the capacity to

understand indications, alternatives, risks, and benefits. The patient’s mental health conditions

are addressed, and if a consultation with a mental health professional may be required if the

diagnosis is unclear or not optimally managed. I evaluate potential negative impacts of hormone

treatment on patient’s mental health. Physical health conditions are explored to determine if



DECLARATION OF JOSEPH NEIL RAGAN, MD IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER AND A PERMANTENT INJUNCTION - 3

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further evaluation may be required to determine whether hormone treatment might cause harm,

as in a patient with a hormone-sensitive cancer or a serious blood clotting disorder. The benefits

of the medical treatment must exceed the risks of medical treatment.

       16.     In determine whether gender affirming surgery is appropriate for a patient, I

consider the risk versus the benefit of the specific surgery, an equation that varies widely

depending on the specific surgery. Physicians and providers treating transgender and gender-

nonconforming individuals generally do not “prescribe” surgery. We do discuss surgical options

with patients when the issue arises, discussing risks, complications, cost, benefits, etc. We refer

these patients to qualified gender-affirming surgeons when requested by the patient.

       17. Involuntary discontinuation of cross-sex hormones causes distressing effects. Without

the influence of these hormones, the individual who identifies as female will lose her female

body characteristics and her body will appear more masculine. An individual who identifies as

male will lose his male body characteristics, and his body will appear more feminine. These

changes are extremely distressing to a transgender person, both physically and mentally, with

associated anxiety, depression, and possible suicidality. These adverse effects impact not only

the individual, but also their family and work performance.

       18.     A small minority of patients on cross-sex hormone therapy choose to discontinue

those medications. The vast majority of patients on cross-sex hormone therapy find these

medications beneficial to their mental and physical health. Discontinuing these medications

causes the reversal of the masculinizing and feminizing effects, leading to effects that are both

rapid (e.g., onset of menstruation in a transgender man) and gradual (e.g., regression of breast

growth in a transgender woman).

       19.     Individuals who have had their natal gonads (ovaries or testes) removed will



DECLARATION OF JOSEPH NEIL RAGAN, MD IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER AND A PERMANTENT INJUNCTION - 4

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suffer medium and long term serious adverse effects from stopping hormone treatments. These

effects include, but are not limited to, osteoporosis, fractures, fatigue, and muscle loss.

       20.     If in my professional medical opinion, based upon my education, training and

experience it is against medical standards of care to withhold cross-sex hormone therapy from

adult patients who identify as transgender, who are capable of making their own medical

decisions, and who have no medical contraindications to the use of these medications.

       21.     There are several dozen transgender individuals who have come to my clinic for

treatment, irrespective of insurance coverage, who have not been able to find healthcare

providers in the community who are not affiliated with state-funded organizations and therefore

able to prescribe cross-sex hormones to treat gender dysphoria.

       22.     My clinic is affiliated with Idaho State University and Health West Community

Health Center. It is by far the primary source of gender-affirming care in southeast Idaho. I have

been instructed that the clinic is no longer allowed to provide and has discontinued providing

gender affirming treatment under HB 668 because the clinic receives state funding. These

patients are struggling to find alternative sources of transgender care in the community and most

are now having to drive long distances and/or get care through online sources.

       23.     Medicaid participants have the additional burden of having to pay the out-of-

pocket cost of cross-sex hormone medication. The cost is beyond the ability to pay for low-

income individuals. My clinic was caring for approximately 300 transgender and gender-

nonconforming individuals. The majority of whom are receiving cross-sex hormone treatment.

More than half had their treatments were covered and reimbursed by Idaho Medicaid prior to the

enactment and implementation of HB 668.

       24.     In my professional opinion physicians who have no training and experience in



DECLARATION OF JOSEPH NEIL RAGAN, MD IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER AND A PERMANTENT INJUNCTION - 5

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providing gender affirming treatment to transgender patients are not qualified to diagnosis

gender dysphoria and determine whether gender affirming treatment is medically necessary for a

patient.

DATED: September 26, 2024                           /s/
                                                    JOSEPH NEIL RAGAN, MD




DECLARATION OF JOSEPH NEIL RAGAN, MD IN SUPPORT OF MOTION FOR A
TEMPORARY RESTRAINING ORDER AND A PERMANTENT INJUNCTION - 6

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